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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------- x
 UNITED STATES OF AMERICA,                 :
                                           :                        11 Civ. 0071 (PGG)
           Plaintiff-Intervenor,           :
      v.                                   :                        STIPULATION AND ORDER OF
                                           :                        SETTLEMENT AND DISMISSAL
 NOVARTIS PHARMACEUTICALS CORP.,           :
                                           :
           Defendant.                      :
 ----------------------------------------- x

       WHEREAS, this Stipulation and Order of Settlement and Dismissal (the “Stipulation”) is

entered into by and among (i) plaintiff the United States of America (the “United States” or the

“Government”), by its attorney Audrey Strauss, Acting United States Attorney for the Southern

District of New York; (ii) the qui tam relator Oswald Bilotta (“Relator”); and (iii) defendant

Novartis Pharmaceuticals Corporation (“Novartis,” and together with the United States and

Relator, the “Settling Parties”), through their respective authorized representatives;

       WHEREAS, in January 2011, Relator filed a complaint in the above-captioned action in

the United States District Court for the Southern District of New York (the “Court”) under the

qui tam provisions of the False Claims Act, as amended, 31 U.S.C. § 3729 et seq. (the “FCA”),

which complaint was subsequently amended on October 19, 2012, as of right on April 3, 2013

(pursuant to an unopposed motion dated March 21, 2013), and on July 10, 2013 (pursuant to a

stipulation dated July 8, 2013), alleging, inter alia, that Novartis violated the FCA and the Anti-

Kickback Statute, 42 U.S.C. § 1320a-7b(b) (the “AKS”), by, inter alia, paying doctors

remuneration to prescribe the drugs Lotrel, Valturna, Starlix, Tekturna, Tekturna HCT, Diovan,

Diovan HCT, Exforge and Exforge HCT through the mechanism of speaker program honoraria

and related misconduct (the “Relator Action”);


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       WHEREAS, on April 26, 2013, the United States intervened in the Relator Action against

Novartis by filing a Notice of Election to Intervene and Complaint-in-Intervention in the above-

referenced qui tam action, in which it is asserting claims against Novartis under the FCA and

common law;

       WHEREAS, on August 26, 2013, the United States filed an Amended Complaint-in-

Intervention in this action (the “Government Complaint”);

       WHEREAS, on August 26, 2013, the State of New York also intervened in this action;

       WHEREAS, the United States alleges that (i) from January 1, 2002, through November

21, 2011, Novartis offered and paid remuneration in the form of cash, meals, alcohol, hotels,

travel, entertainment, and honoraria payments to health care practitioners (“HCPs”) who spoke at

or attended Novartis speaker events, roundtables, speaker training meetings or lunch-n-learns to

induce them to prescribe Lotrel, Valturna, Starlix, Tekamlo, Diovan HCT, Tekturna HCT, and

Exforge HCT, in violation of the AKS, and thereby caused false claims for prescriptions for

those drugs to be submitted to and paid by Medicare, Medicaid, the Department of Veterans

Affairs and TRICARE, in violation of the FCA; and (ii) from January 1, 2010, through

November 21, 2011, Novartis paid remuneration in the form of cash, meals, alcohol, hotels,

travel, entertainment, and honoraria payments to HCPs who spoke at or attended Novartis

speaker events, roundtables, speaker training meetings or lunch-n-learns to induce them to

prescribe Diovan, Tekturna, and Exforge in violation of the AKS, and thereby caused false

claims for prescriptions for Diovan, Tekturna, and Exforge to be submitted to and paid by

Medicare, Medicaid, the Department of Veterans Affairs and TRICARE, in violation of the

FCA. The conduct described in this Paragraph is the “Covered Conduct” for purposes of this

Stipulation;


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       WHEREAS, Novartis intends to enter into separate settlement agreements with various

States (the “State Settlements”) to resolve claims under state law for the Covered Conduct, and

has agreed to pay a total of $48,151,273.66 to the States pursuant to the State Settlements;

       WHEREAS, the Settling Parties have, through this Stipulation, reached a full and final

mutually agreeable resolution addressing the claims asserted against Novartis in the Government

Complaint and the Relator Action, for the Covered Conduct;

       WHEREAS, the Relator’s claim to a share of the proceeds from the settlement of claims

arising from the Relator Action will be the subject of a separate agreement between Relator and

the United States;

       NOW, THEREFORE, upon the Settling Parties’ agreement, it is hereby ORDERED that:

       1.      The Settling Parties agree that this Court has subject matter jurisdiction over this

action and consent to this Court’s exercise of personal jurisdiction over each of them.

       2.      Novartis admits, acknowledges, and accepts responsibility for the following facts

and conduct:

       The Anti-Kickback Statute

                     a. The AKS prohibits pharmaceutical companies, such as Novartis, from
                        knowingly and willfully providing remuneration to doctors in order to
                        induce them to write prescriptions for the company’s pharmaceutical
                        products that are ultimately paid for by federal health care programs.

                     b. Between January 2002 and November 2011 (the “Relevant Period”),
                        Novartis understood that it had to comply with the AKS. Throughout the
                        Relevant Period, Novartis had an ethics and compliance policy that
                        applied to all of its employees and associates, which stated that the AKS
                        “makes it a criminal offense to, among other things, knowingly and
                        willfully offer . . . any ‘remuneration’ in exchange for, or to induce the . . .
                        recommendation of, any item or service for which payment may be made
                        under Medicare [or] Medicaid.”

                     c. During the Relevant Period, Novartis knew that Medicare providers, Part
                        D plan sponsors and pharmacies that contracted with Part D plan sponsors
                        were required to agree that they would comply with applicable laws and
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            regulations, including, but not limited to, the Anti-Kickback Statute and
            the False Claims Act.

         d. During the Relevant Period, Novartis knew that state Medicaid programs
            required providers, including doctors and pharmacies, to certify
            compliance with federal requirements and such certification encompassed
            compliance with the Anti-Kickback Statute.

         e. Moreover, during the Relevant Period, Novartis knew that the TRICARE
            program required providers to agree to abide by federal laws and
            regulations. Similarly, pharmacies filling prescriptions for TRICARE
            beneficiaries were also required to abide by federal laws.

Marketing of the Covered Drugs through Meetings and Events

         f. During the Relevant Period, Novartis marketed and sold a number of
            drugs to treat hypertension, including Lotrel, Diovan and Diovan HCT,
            Exforge and Exforge HCT, Tekturna and Tekturna HCT, Valturna, and
            Tekamlo. Novartis also marketed and sold Starlix, a drug to treat Type 2
            diabetes (collectively, the “Covered Drugs”).

         g. Lotrel was approved by the FDA in 1995, Diovan in 1996, and Diovan
            HCT in 1998. Starlix was approved in 2000. Exforge and Exforge HCT
            were approved by the FDA in 2007 and 2009, respectively. Exforge is a
            combination of Diovan and amlodipine besylate, which was approved by
            the FDA for treatment of hypertension in 1992. Exforge HCT combines
            Exforge with a diuretic, hydrochlorothiazide. Tekturna and Tekturna HCT
            were approved by the FDA in 2007 and 2008, respectively. The FDA
            approved Valturna in 2009 and Tekamlo in 2010.

         h. Novartis conducted meetings and events as part of its marketing efforts for
            each of the Covered Drugs, including events referred to as speaker
            programs and roundtables.

         i. Pursuant to the Novartis compliance policies in place during the Relevant
            Period, speaker programs were supposed to be promotional programs led
            by a speaker who was approved and trained by the company and who
            received an honorarium for presenting an on-label and medically relevant
            slide presentation and Q&A session related to a Novartis product.
            Novartis paid for the attendees’ meals and alcohol for programs held in
            restaurants.

         j. Pursuant to the Novartis compliance policies in place during part of the
            Relevant Period, roundtables were supposed to be events, typically held at
            restaurants, where a Novartis sales representative used company-approved
            promotional materials to facilitate a medical discussion between the
            doctors in attendance concerning one or more Novartis drugs. Novartis

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            paid for the attendees’ meals and alcohol. Novartis’s policies allowed
            roundtables to include dinners attended by a single doctor hosted by a
            sales representative.

         k. In 2002, Novartis signed the PhRMA Code, an industry-wide code of
            conduct, and adopted internal compliance policies in response to the Code.
            The Code stated that meals should only be provided to doctors in
            connection with “[i]nformational presentations and discussions” that
            “provide scientific or educational value”, and that were “modest,”
            “occur[red] in a venue and manner conducive to informational
            communication,” and were provided “on [no] more than an occasional
            basis.”

         l. The majority of Novartis’s speaker programs and roundtables were
            organized by sales representatives, who selected the venue, chose the
            speakers, and determined which doctors to invite.

Budgets for Promotional Programs

         m. Novartis sales representatives were provided with budgets specifically for
            promotional programs, which included speaker programs and roundtables.

         n. Many Novartis sales managers directed their sales representatives to spend
            all of their budgets for promotional programs.

         o. Many Novartis sales representatives were specifically evaluated in their
            annual reviews as to how much of their budget for promotional programs
            they had used, as part of an evaluation of their overall sales efforts. If a
            sales representative failed to spend all of their budget, that could be a
            negative factor in their annual review.

         p. Novartis incentivized its sales representatives and managers through bonus
            compensation to grow the local market share of the Novartis drugs for
            which they were responsible.

         q. “Share of voice” is a marketing concept that measures a pharmaceutical
            company’s marketing presence relative to competitors. A company’s
            “share of voice” for a drug is equal to doctors’ exposure to marketing for
            that drug, divided by their exposure to marketing for all drugs in that class.
            This exposure can include attendance at events like speaker programs and
            roundtables.

         r. A presentation Novartis marketing executives sent to Novartis’s Chief
            Operating Officer in 2005 stated that Novartis aimed to “[e]stablish
            Novartis CV [cardiovascular] franchise as the 800-pound gorilla” in that
            space by increasing its annual spending on “meetings and events” like
            speaker programs and roundtables from $57 million to $105 million.

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          s. As a result of the Covered Conduct, and the conduct to which Novartis
             admitted and accepted responsibility for in this Paragraph 2, Novartis
             obtained at least $40 million in net proceeds from prescriptions of the
             Covered Drugs that were ultimately reimbursed by Federal health care
             programs.

Selection of Speakers

          t. Throughout the Relevant Period, Novartis representatives and their
             managers had broad discretion to decide which local doctors to nominate
             to become company-approved speakers.

          u. Novartis gave its sales representatives prescribing data that showed the
             number of prescriptions for Novartis and competitor drugs written by the
             doctors in their territories. The Novartis sales force used this prescribing
             data to identify high-volume prescribers and track their prescriptions over
             time.

          v. Using this prescribing data, some Novartis sales representatives selected
             high-prescribing doctors to become speakers and intended the honoraria
             paid to induce these doctors to continue to write or write more Novartis
             products.

          w. During the Relevant Period, Novartis paid many high-prescribing doctors
             tens or hundreds of thousands of dollars in honoraria. For instance, over
             the course of the Relevant Period, Novartis paid over $320,000 in
             honorarium to a doctor who wrote more than 8,000 prescriptions for the
             Covered Drugs; over $220,000 in honorarium for a doctor who wrote
             more than 9,000 prescriptions for the Covered Drugs; and over $200,000
             to a doctor who wrote more than 3,600 prescriptions for the Covered
             Drugs.

Excessive Meal and Alcohol Spend

          x. Some Novartis sales representatives hosted speaker programs or
             roundtables at expensive restaurants, intending to induce the doctors in
             attendance to continue to write or write more Novartis prescriptions.

          y. During the Relevant Period, Novartis sales representatives conducted
             speaker programs and roundtables at some of the most expensive
             restaurants in the United States, including Masa, Daniel, Gramercy
             Tavern, Il Mulino, Babbo, Peter Luger, Le Bernardin, and Eleven Madison
             Park in New York City; Charlie Palmer’s in Washington, D.C.; Morton’s
             Steakhouse and the Four Seasons in Chicago, Illinois; Joe’s Stone Crab in
             Miami; Abacus, Nobu and the Four Seasons in Dallas; Gary Danko in San
             Francisco; Patina and Matsuhisa in Los Angeles; Grill 225 in South
             Carolina; and Commander’s Palace in New Orleans.
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         z. Throughout the Relevant Period, according to Novartis database
            information about its programs, more than 12,000 speaker programs and
            roundtables had meal spends that were considerably in excess of the $125
            per person limit set by Novartis’s compliance policies. For example, in
            2008, at a speaker program held at Ruth’s Chris Steakhouse in Pikesville,
            Maryland, Novartis held an event with only one doctor in the audience for
            the speaker’s presentation, at which it spent $448 per person on food and
            alcohol, in addition to the $1,000 honorarium payment provided to the
            speaker. In other examples, in 2008, Novartis spent $521 per person for
            food and alcohol at a dinner held at Skye Restaurant in Peoria, Arizona,
            and $680 per person for a dinner event held at Danton’s Gulf Coast
            Seafood Restaurant in Houston, Texas.

         aa. In 2006, an internal Novartis presentation noted that between August 2005
             and April 2006 “[o]ver 24% of the [speaker] events appear to have
             exceeded the guideline for average [food and beverage] cost per attendee
             in major cities.” It noted that one of the “[r]easons for excessive costs per
             person” was that “[e]vents are planned with high costs (e.g. very exclusive
             places, expensive menu choices, no control over alcohol spending).”

         bb. In certain instances, Novartis’s internal records understated how much was
             spent per doctor at each event, as some Novartis employees falsified
             records to make it appear that the amount spent on alcohol and food for
             doctors at speaker programs and roundtables was less than what was
             actually spent.

         cc. During the Relevant Period, Novartis typically paid for alcohol provided
             at Novartis’s speaker programs and roundtables. Some doctors demanded
             expensive bottles of wine. Doctors sometimes consumed alcohol in large
             quantities at these events, to the point of intoxication.

         dd. During the Relevant Period, some Novartis sales representatives
             conducted speaker programs and roundtables on the Covered Drugs at
             venues where the focus was on entertainment, including fishing trips,
             sporting events, wine tastings, and hibachi tables. Novartis conducted
             hundreds of events at wineries and golf clubs. Sales representatives also
             conducted roundtables at Hooters.

Minimal Medical Discussion

         ee. Although Novartis’s ethics and compliance policies required that speaker
             programs and roundtables provide medical information regarding the
             company’s products to health care practitioners, at many Novartis events,
             there was little to no medical discussion.

         ff. At many of the speaker programs, the sales representative hosting the
             event did not require the speaker, who was being paid an honorarium, to
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            deliver a presentation at all, or allowed the speaker to click through the
            power point presentation in a matter of minutes. In those instances, the
            majority of the time was spent socializing and enjoying dinner.

         gg. Novartis in a number of instances paid doctors honoraria for purportedly
             speaking at events that never took place.

         hh. On Long Island, at least one sales representative organized fraudulent
             speaker programs by arranging for a restaurant to create fake receipts to
             make it appear that a dinner had taken place, and then using the budgeted
             funds to purchase gift cards that were distributed to high-prescribing
             doctors. Doctors were then also paid honoraria for “speaking” at these
             sham events.

Repeat Attendance

         ii. Novartis had staff in its marketing science group to measure its return on
             investment (“ROI”) from speaker programs and roundtables, based on the
             number of new prescriptions for its drugs written by doctors in attendance.

         jj. In July 2004, Novartis’s marketing science group sought to determine
             whether its meetings and events, including a doctor’s repeated attendance
             at events, had any “impact on share growth.”

         kk. The following month, Novartis’s marketing science group presented an
             analysis showing that, for Lotrel roundtables, the ROI for doctors who
             attended more than one roundtable was 1,200%.

         ll. In 2005, in response to the direction to double Novartis’s “share of voice”
             in cardiovascular meetings and events, Novartis executives developed
             “goals” for the number of speaker programs and roundtables Novartis
             sales representatives should hold each month.

         mm. In November 2005, a Novartis sales executive wrote an email in which
           she stated that certain proposed “goals” for the number of speaker
           programs and roundtables to be expected of Novartis sales representatives
           for the months of January and February 2006 were “very difficult to
           defend [as] . . . achievable,” and further that “attendance by these [doctors]
           would need to be excessive.” Novartis ultimately set expectations “on the
           higher end” of what she thought was “possible.”

         nn. In 2007, the marketing science group recommended that high-prescribers
             of hypertensive drugs attend approximately a dozen meetings and events
             on Diovan, Diovan HCT, and Lotrel each year. The group reaffirmed
             these recommendations in 2008. These recommendations informed the
             national budgets Novartis set for its meetings and events.


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         oo. To achieve these goals, many Novartis representatives would repeatedly
             invite the same doctors to attend promotional programs for the same drugs
             and presentations with the same title. Novartis’s records show that more
             than 19,235 doctors attended programs with the exact same title three or
             more times in a six-month period.

         pp. In thousands of instances, Novartis paid for the same group of doctors,
             often colleagues or friends, to have dinners together repeatedly (along
             with other doctors or health care providers on occasion). Doctors in these
             groups would sometimes rotate being the speaker and receiving the
             honorarium payment.

         qq. For example, five doctors in Harrisburg Pennsylvania went to more than
             100 speaker program events at which some or all of the five doctors were
             in attendance over the course of five years, sometimes as often as five
             times a month. At these events, one of the five doctors would take turns
             being the designated speaker and receiving the honorarium payment.

         rr. In Rockford Illinois, Novartis held 124 speaker programs over the course
             of eight years at which the same ten doctors or a subset of that group of
             doctors were the only persons in attendance. The same doctor was paid by
             Novartis to speak at 102 of those events. Some of the doctors who
             attended received a portion of that speaker’s honoraria payment as a cash
             payment.

Novartis’s Compliance Program

         ss. Despite the known AKS risk posed by conducting meetings and events,
             during the Relevant Period, Novartis failed to develop and implement a
             compliance program that adequately ensured that its sales personnel was
             not using Novartis speaker and roundtable events as a means to induce
             doctors to prescribe Novartis drugs in violation of the AKS.

         tt. Novartis created a compliance department in 1999, but did not allocate the
             personnel and resources to adequately monitor that the tens of thousands
             of speaker and roundtable events that Novartis organized throughout the
             country each year complied with the AKS.

         uu. For the first two years of its existence, from 1999-2001, Novartis’s
             compliance department consisted of one employee.

         vv. While Novartis hired additional compliance personnel in later years, it did
             not employ sufficient staff to investigate potential AKS violations. As a
             result, there was a large backlog of potential AKS violations that needed
             to be investigated. Because of this backlog and the resulting passage of
             time, in many cases Novartis did not investigate potential misconduct at
             all.

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         ww. Novartis did not conduct a comprehensive field audit of speaker events
           until 2008, after approximately 90 percent of the events at issue in this
           case had already occurred. Novartis supervisors and compliance staff
           attended only a small number of the hundreds of thousands of speaker and
           roundtable events that Novartis arranged during the Relevant Period.
           Prior to the 2008 audit, sales representatives would typically receive
           advance notice if their programs were going to be audited.

         xx. Even though Novartis adopted a policy in 2002 prohibiting a doctor from
             bringing a spouse or guest who was not a prescribing health care
             professional to promotional programs, in practice spouses or other guests
             were often invited to or allowed to attend such dinners.

         yy. During part of the Relevant Period, Novartis compliance policies allowed
             sales representatives to spend as much as $125 on each doctor's meal and
             alcohol, regardless of where in the United States the dinner event was
             located. Novartis policies also set no limits on how many dinner events
             doctors could attend concerning the same drug.

         zz. Novartis’s compliance training materials suggested that emails advocating
             illegal kickbacks were improper in part because they “reflect[] ignorance
             of the import of written communications, and put[] the Company at risk.”
             Novartis's Chief Compliance Officer also stated in training presentations:
             “If you don't have to write it, don’t. Consider using the phone.”

The 2010 Settlement and Corporate Integrity Agreement

         aaa. In 2010, Novartis settled with the United States claims relating to
             Diovan, Exforge, Tekturna, Trileptal, Zelnorm, and Sandostatin. In that
             suit, the United States alleged that, between 2002 and 2009, Novartis
             provided illegal remuneration to doctors, through mechanisms such as
             speaker programs, advisory boards, and gifts (including entertainment,
             travel, and meals), to induce them to prescribe these drugs, in violation of
             the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b).

         bbb. As part of that settlement, in September 2010 Novartis entered into a
            five-year Corporate Integrity Agreement (“2010 CIA”) with the United
            States Department of Health and Human Services Office of Inspector
            General. The 2010 CIA required Novartis to make various changes to its
            auditing, monitoring, investigations, discipline, and other compliance
            policies.

         ccc. The 2010 CIA also required an outside expert to audit Novartis’s
             compliance program.

         ddd. The 2010 CIA required the expert to conduct a “Year One Compliance
            Program Effectiveness Review” a year after the 2010 CIA went into
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                       effect. As part of the review, the expert concluded that Novartis had only
                       “partially” met its compliance goals in certain areas. For example, the
                       expert concluded that compliance monitoring had still largely remained
                       “the responsibility of the business [team],” rather than those working in
                       the compliance department, and that Novartis had not “defined” how that
                       monitoring was to occur or how the business team’s findings would be
                       reported to compliance officials. The expert found that there were no
                       written policies or procedures addressing how to conduct investigations of
                       allegations of speaker program abuses and that the reporting of
                       investigative results had not been standardized. The expert also found that
                       Novartis did not consistently undertake "appropriate disciplinary action"
                       for compliance violations in non-termination cases.

          3.   Novartis shall make the following payments to the United States within fourteen

(14) business days of the Effective Date (defined below in Paragraph 35): (i) a payment of

$591,442,008.92, plus interest (the “Settlement Amount”), which shall be compounded annually

at 2.5% accruing from May 17, 2019, to the date on which the Settlement Amount is paid to the

United States; and (ii) a payment of $38,406,717.42 million (the “Forfeiture Amount”) as money

subject to forfeiture to the United States under 18 U.S.C. § 981(a)(1)(C). Novartis shall pay the

Settlement Amount and Forfeiture Amount in accordance with instructions to be provided by the

United States Attorney’s Office for the Southern District of New York. Of the Settlement Amount,

$295,721,004.46, and the interest associated with that amount, constitutes restitution to the United

States.

          4.   Novartis agrees to cooperate fully and truthfully with the United States’

investigation of individuals and entities not released in this Stipulation. Upon reasonable notice,

Novartis shall encourage, and agrees not to impair, the cooperation of its directors, officers, and

employees, and shall use its best efforts to make available, and encourage, the cooperation of

former directors, officers, and employees for interviews and testimony, consistent with the rights

and privileges of such individuals. Novartis further agrees to furnish to the United States, upon

request, complete and unredacted copies of all non-privileged documents, reports, memoranda of

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interviews, and records in its possession, custody, or control concerning any investigation of the

Covered Conduct that it has undertaken, or that has been performed by another on its behalf.

       5.      Subject to the exceptions in Paragraphs 11 and 20 below (concerning excluded

claims and bankruptcy proceedings), and conditioned upon Novartis’s full compliance with the

terms of this Stipulation, including full payment of the Settlement Amount and the Forfeiture

Amount to the United States pursuant to Paragraph 3 above, the United States releases Novartis,

including its subsidiaries and corporate predecessors, successors and assigns, from any civil or

administrative monetary claim that the United States has for the Covered Conduct under the FCA,

the Civil Monetary Penalties Law, 42 U.S.C. § 1320a-7a, the Program Fraud Civil Remedies Act,

31 U.S.C. § 3801-3812, and the common law theories of fraud, payment by mistake, and unjust

enrichment. For avoidance of doubt, this Stipulation does not release any current or former officer,

director, employee, or agent of Novartis from liability of any kind.

       6.      Subject to the exceptions in Paragraph 11 below (concerning excluded claims),

conditioned upon Novartis’s full and timely payment of the Forfeiture Amount, and the entry of

the Forfeiture Order by the Court, the United States, on behalf of itself, its officers, agencies and

departments, releases any claim the United States has under 18 U.S.C. § 981(a)(1) for the Covered

Conduct. For avoidance of doubt, this Stipulation does not release any current or former officer,

director, employee, or agent of Novartis from liability of any kind.

       7.      In consideration of the obligations of Novartis in this Stipulation and the Corporate

Integrity Agreement (“CIA”) entered into between the Office of Inspector General, Department of

Health and Human Services (“OIG-HHS”) and Novartis’s indirect parent company, Novartis

Corporation, and conditioned upon Novartis’ full payment of the Forfeiture Amount and the

Settlement Amount to the United States pursuant to Paragraph 3 above, the OIG-HHS agrees to


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release and refrain from instituting, directing, or maintaining any administrative action seeking

exclusion from Medicare, Medicaid, and other Federal health care programs (as defined in 42

U.S.C. § 1320a-7b(f)) against Novartis under 42 U.S.C. § 1320a-7a (Civil Monetary Penalties

Law) or 42 U.S.C. § 1320a-7(b)(7) (permissive exclusion for fraud, kickbacks, and other

prohibited activities) for the Covered Conduct, except as reserved in Paragraph 11 (concerning

excluded claims), below, and as reserved in this Paragraph. The OIG-HHS expressly reserves all

rights to comply with any statutory obligations to exclude Novartis from Medicare, Medicaid, and

other Federal health care programs under 42 U.S.C. § 1320a-7(a) (mandatory exclusion) based

upon the Covered Conduct. Nothing in this Paragraph precludes the OIG-HHS from taking action

against entities or persons, or for conduct and practices, for which claims have been reserved in

Paragraph 11, below.

       8.      Novartis fully and finally releases the United States, and its agencies, officers,

employees, servants, and agents from any claims (including attorneys’ fees, costs, and expenses

of every kind and however denominated) that Novartis has asserted, could have asserted, or may

assert in the future against the United States, and its agencies, officers, employees, servants, and

agents, related to the Covered Conduct and the United States’ investigation, prosecution and

settlement thereof.

       9.      Conditioned on Novartis’s timely payment of the full Settlement Amount pursuant

to Paragraph 3 above, Relator, for himself and his heirs, successors, attorneys, agents, and assigns,

releases Novartis, including its subsidiaries, predecessors, and corporate successors and assigns,

as well as all of its current and former officers, directors, employees, attorneys, and other agents,

from any and all manner of claims, proceedings, liens, and causes of action of any kind or

description that Relator has against Novartis related to or arising from the Relator’s Action;


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provided however, that nothing in this Stipulation shall preclude Relator from seeking to recover

his reasonable expenses and attorneys’ fees and costs pursuant to 31 U.S.C. § 3730(d). Pursuant

to 31 U.S.C. § 3730(d)(1), the Government consents to Relator’s settlement and dismissal of the

Relator Action.

       10.     In consideration of the execution of this Stipulation by Relator and Relator’s release

as set forth in Paragraph 9 above, Novartis, including its subsidiaries, predecessors, and corporate

successors and assigns, as well as all of its current and former officers, directors, employees,

attorneys, and other agents, release Relator, and his heirs, attorneys, agents, successors, and

assigns, from any and all manner of claims, proceedings, liens, and causes of action of any kind or

description that Novartis has against Relator related to or arising from the Relator’s Complaint.

       11.     Notwithstanding the releases given in Paragraphs 5, 6, 7 and 9 of this Stipulation,

or any other term of this Stipulation, the following claims of the Government are specifically

reserved and are not released by this Stipulation:

               a.     Any civil, criminal or administrative claims arising under Title 26, U.S.
               Code (Internal Revenue Code);

               b.      Any criminal liability;

               c.     Except as explicitly stated in this Stipulation, any administrative liability,
               including but not limited to mandatory exclusion from Federal health care
               programs under 42 U.S.C. § 1320a-7(a);

               d.      Any liability to the United States (or its agencies) for any conduct other
               than the Covered Conduct;

               e.      Any liability based upon obligations created by this Stipulation; and

               f.      Any liability of individuals.

       12.     Novartis shall be in default of this Stipulation if it fails to pay the Settlement

Amount and/or the Forfeiture Amount as set forth in Paragraph 3 on or before the due date for


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such payments, or if it fails to comply materially with any other term of this Stipulation that applies

to it (“Default”). The Government shall provide written notice to Novartis of any Default in the

manner set forth in Paragraph 34 below, except for violations of Paragraph 15, which shall be

governed by the procedures set forth therein. Novartis shall then have an opportunity to cure the

Default within ten (10) calendar days from the date of delivery of the notice of Default. In the

event that a Default is not fully cured within ten (10) calendar days of the delivery of the notice of

Default (“Uncured Default”), interest shall accrue at the rate of 12% per annum compounded daily

on the remaining unpaid principal balance of the Settlement Amount, beginning ten (10) calendar

days after mailing of the notice of Default. In the event of an Uncured Default, Novartis shall

agree to the entry of a consent judgment in favor of the United States against Novartis in the

amount of the Settlement Amount as attached hereto as Exhibit A. The United States may also, at

its option, (a) rescind this Stipulation and reinstate the claims asserted against Novartis in the

Government Complaint; (b) seek specific performance of this Stipulation; (c) offset the remaining

unpaid balance of the Settlement Amount from any amounts due and owing Novartis by any

department, agency, or agent of the United States; or (d) exercise any other rights granted by law,

or under the terms of this Stipulation, or recognizable at common law or in equity. Novartis shall

not contest any offset imposed or any collection undertaken by the Government pursuant to this

Paragraph, either administratively or in any Federal or State court. In addition, Novartis shall pay

the Government all reasonable costs of collection and enforcement under this Paragraph, including

attorneys’ fees and expenses. In the event that the United States opts to rescind this Stipulation

pursuant to this Paragraph, Novartis shall not plead, argue, or otherwise raise any defenses under

the theories of statute of limitations, laches, estoppel, or similar theories, to any civil or

administrative claims that relate to the Covered Conduct.


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       13.     The Relator and his heirs, successors, attorneys, agents, and assigns shall not object

to this Stipulation; Relator agrees and confirms that the terms of this Stipulation are fair, adequate,

and reasonable under all the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B).

       14.     Novartis waives and shall not assert any defenses it may have to any criminal

prosecution or federal administrative action relating to the Covered Conduct that may be based in

whole or in part on a contention that, under the Double Jeopardy Clause in the Fifth Amendment

of the Constitution, or under the Excessive Fines Clause in the Eighth Amendment of the

Constitution, this Stipulation bars a remedy sought in such federal criminal prosecution or federal

administrative action.

       15.     Novartis, having truthfully admitted to the conduct set forth in paragraph 2 hereof

(the “Admitted Conduct”), agrees it shall not, through its attorneys, agents, officers, or employees,

make any public statement, including but not limited to, any statement in a press release, social

media forum, or website, that contradicts or is inconsistent with the Admitted Conduct or suggests

that the Admitted Conduct is not wrongful (a “Contradictory Statement”). Any Contradictory

Statement by Novartis, its attorneys, agents, officers, or employees, shall constitute a violation of

this Stipulation, thereby authorizing the Government to pursue any of the remedies set forth in

Paragraph 12 above, or seek other appropriate relief from the Court. Before pursuing any remedy,

the Government shall notify Novartis that it has determined that Novartis has made a Contradictory

Statement. Upon receiving notice from the Government, Novartis may cure the violation by

repudiating the Contradictory Statement in a press release or other public statement within four

business days. If Novartis learns of a potential Contradictory Statement by its attorneys, agents,

officers, or employees, Novartis must notify the Government of the statement within 24 hours.

The decision as to whether any statement constitutes a Contradictory Statement or will be imputed


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to Novartis for the purpose of this Stipulation, or whether Novartis adequately repudiated a

Contradictory Statement to cure a violation of this Stipulation, shall be within the sole discretion

of the Government. Consistent with this provision, Novartis may raise defenses and/or assert

affirmative claims or defenses in any proceeding brought by private and/or public parties, so long

as doing so would not contradict or be inconsistent with the Admitted Conduct.

       16.     The CIA includes the following requirements, described in Section III.B.2.i of the

CIA, which are hereby incorporated into this Stipulation:

                   a. Novartis may provide remuneration, directly or indirectly, to healthcare

                       professionals (“HCPs”) who are not Novartis employees to serve as

                       presenters on behalf of Novartis, including at independent third-party

                       scientific or medical conferences, or participate in speaker training

                       programs (hereafter “Speaker Programs”), only under the circumstances set

                       forth below. Non-Novartis employee HCPs who are engaged by Novartis to

                       present at Speaker Programs shall be referred to collectively herein as

                       “External Speakers” and the activities shall be referred to collectively as

                       “External Speaker Programs.”

                   b. The External Speaker Programs shall be conducted in a virtual format

                       meaning that the External Speakers shall be remote and shall not be in the

                       same location as any audience member. Speaker Programs may not take

                       place in restaurant venues and alcohol may not be served or available

                       for purchase at such events.

                   c. The External Speaker Programs may occur only within 18 months of the

                       FDA approval of any new Novartis products that are: (i) marketed or sold

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                      by Novartis in the United States (or pursuant to contracts with the United

                      States), and (ii) reimbursed by Federal health care programs (“Government

                      Reimbursed Products”), or a new indication for any Government

                      Reimbursed Product previously approved by the FDA. Such programs may

                      include the opportunity for the real-time discussion of questions and

                      answers between the External Speaker and any audience member. Novartis

                      may record External Speaker Programs (including the question and answer

                      exchanges) and make such recordings available during and following the

                      expiration of the 18-month period referenced above.

                  d. For each newly approved Government Reimbursed Product or new

                      indication for a Government Reimbursed Product, Novartis may provide no

                      more than a maximum of $100,000 in total remuneration (whether direct or

                      indirect) to all External Speakers for External Speaker Programs for such

                      product or indication, and each External Speaker shall receive no more than

                      a maximum of $10,000 in total remuneration associated with serving as an

                      External Speaker for such product or indication. The above-referenced

                      monetary limits shall include remuneration for speaking and for speaker

                      training, but shall not include any direct payment by Novartis for travel and

                      travel-related expenses (e.g., hotels, rental cars, etc.)

       17.    On the due date for the submission of each Annual Report required under the CIA,

an officer, director, or senior management employee of Novartis (the “Certifying Official”) shall

submit a certification to HHS-OIG covering the applicable CIA Reporting Period, attesting that to

the best of his or her knowledge, Novartis has complied with the requirements set forth in


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Paragraph 16, or if there has been any failure to comply with the terms of Paragraph 16 during a

given year, the certification shall include a description of any and all such instances of non-

compliance and the corrective action taken to address such non-compliance.

        18.    If HHS-OIG determines that Novartis or the Certifying Official has failed to

comply with the requirements referenced in Paragraphs 16 and 17 above, then, in addition to

imposing any applicable remedies available under Section X of the CIA, HHS-OIG may, in its

sole discretion, refer such alleged violation to the United States Attorney’s Office for the Southern

District of New York for purposes of seeking relief from the Court in the form of (1) injunctive

relief with respect to Novartis’ execution of External Speaker Programs, as defined in Paragraph

16, for the remaining term of the CIA; or (2) monetary penalties against the Certifying Official.

Only after receiving a referral from HHS-OIG may the United States seek relief from the Court

for any violation of Paragraphs 16 and 17 above. Prior to making any referral to the United States

Attorney’s Office, (i) HHS-OIG shall provide written notice to Novartis and/or the Certifying

Official of the alleged violation of Paragraphs 16 or 17, and (ii) Novartis and/or the Certifying

Official shall have 30 days from the date of receipt of the written notice to respond to HHS-OIG’s

written notice. In any proceeding seeking relief pursuant to this Paragraph, the Government will

have the burden of demonstrating to the Court that Novartis or the Certifying Official is in

substantial noncompliance with the terms of Paragraphs 16 and/or 17.

       19.     Novartis represents and warrants that it has reviewed its financial situation, that it

is currently not insolvent as such term is defined in 11 U.S.C. § 101(32) and that it reasonably

believes that it shall remain solvent following payment to the Government of the Settlement

Amount and the Forfeiture Amount. Further, the Settling Parties warrant that, in evaluating

whether to execute this Stipulation, they (a) have intended that the mutual promises, covenants,


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and obligations set forth constitute a contemporaneous exchange for new value given to Novartis,

within the meaning of 11 U.S.C. § 547(c)(1); and (b) have concluded that these mutual promises,

covenants, and obligations do, in fact, constitute such a contemporaneous exchange. Further, the

Settling Parties warrant that the mutual promises, covenants, and obligations set forth herein are

intended to and do, in fact, represent a reasonably equivalent exchange of value that is not intended

to hinder, delay, or defraud any entity to which Novartis was or became indebted to on or after the

date of this Stipulation, within the meaning of 11 U.S.C. § 548(a)(1).

       20.     If within 91 days of the Effective Date of this Stipulation or any payment made

under this Stipulation, Novartis commences any case, action, or other proceeding under any law

relating to bankruptcy, insolvency, reorganization, or relief of debtors or a third party commences

any case, action, or other proceeding under any law related to bankruptcy, insolvency,

reorganization, or relief of debtors (a) seeking an order for relief of Novartis’s debts, or seeking to

adjudicate Novartis as bankrupt or insolvent; or (b) seeking appointment of a receiver, trustee,

custodian, or other similar official for Novartis or for all or part of Novartis’s assets, Novartis

agrees as follows:

               a. Novartis’s obligations under this Stipulation may not be avoided pursuant to 11

                     U.S.C. § 547, and Novartis shall not argue or otherwise take the position in any

                     such case, action, or proceeding that (i) Novartis’s obligations under this

                     Stipulation may be avoided under 11 U.S.C. § 547; (ii) Novartis was insolvent

                     at the time this Stipulation was entered into; or (iii) the mutual promises,

                     covenants, and obligations set forth in this Stipulation do not constitute a

                     contemporaneous exchange for new value given to Novartis.

               b. If any of Novartis’s obligations under this Stipulation are avoided for any


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         reason, including, but not limited to, through the exercise of a trustee’s

         avoidance powers under the Bankruptcy Code, the Government, at its option,

         may rescind the release in this Stipulation and bring any civil and/or

         administrative claim, action, or proceeding against Novartis for the claims that

         would otherwise be covered by the releases in Paragraph 5, 6 and 7 above.

         Novartis agrees that (i) any such claim, action, or proceeding brought by the

         Government would not be subject to an “automatic stay” pursuant to 11 U.S.C.

         § 362(a) as a result of the case, action, or proceeding described in the first

         sentence of this Paragraph, and Novartis shall not argue or otherwise contend

         that the Government’s claim, action, or proceeding is subject to an automatic

         stay; (ii) Novartis shall not plead, argue, or otherwise raise any defenses under

         the theories of statute of limitations, laches, estoppel, or similar theories, to any

         claim, action, or proceeding that is brought by the Government within 60

         calendar days of written notification to Novartis that the releases have been

         rescinded pursuant to this Paragraph, except to the extent such defenses were

         available on January 5, 2011, and (iii) the Government has a valid claim against

         Novartis in the combined amount of the Settlement Amount and the Forfeiture

         Amount and the Government may pursue its claim in the case, action, or

         proceeding described in the first sentence of this Paragraph, as well as in any

         other case, action, or proceeding.

      c. Novartis acknowledges that the agreements in this Paragraph are provided in

         exchange for valuable consideration provided in this Stipulation.

21.   Novartis agrees as follows:


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      a.      Novartis agrees that the Forfeiture Amount represents a substitute res for net
              proceeds obtained by Novartis as a result of the Admitted Conduct , and that
              the Forfeiture Amount is subject to civil forfeiture to the United States
              pursuant to 18 U.S.C. § 981(a)(1)(C). Novartis further agrees that this
              Stipulation may be attached and incorporated into a civil forfeiture complaint
              (the “Civil Forfeiture Complaint”) that will be filed against the Forfeiture
              Amount in the United States District Court for the Southern District of New
              York. Novartis releases any and all claims it may have to such funds.

      b.      Novartis expressly consents to the forfeiture of the Forfeiture Amount to the
              United States and waives any challenge to the Civil Forfeiture Complaint,
              including but not limited to all constitutional and statutory challenges to any
              forfeiture carried out in accordance with this Agreement on any grounds,
              including that the forfeiture constitutes an excessive fine or punishment.
              Novartis also waives service of the Civil Forfeiture Complaint and consents to
              in rem jurisdiction as to the Forfeiture Amount.

      c.      Upon approval of this Stipulation, Novartis shall release any and all claims it
              may have to the Forfeiture Amount and execute such documents necessary to
              accomplish forfeiture of the funds. Novartis agrees that it will not file a claim
              with any Court or otherwise contest the civil forfeiture of the Forfeiture
              Amount and will not assist a third party in asserting any claim to the
              Forfeiture Amount. Novartis certifies that the funds used to pay the Forfeiture
              Amount are not the subject of any lien, security agreement, or other
              encumbrance. Transferring encumbered funds or failing to pass clean title to
              these funds in any way will be considered a breach of this Stipulation.

      d.      Novartis agrees that the Forfeiture Amount shall be treated as a penalty paid
              to the United States government for tax purposes. Novartis agrees that it will
              not claim, assert, or apply for a tax deduction or tax credit with regard to any
              federal, state, local or foreign tax for the Forfeiture Amount.

22.        Novartis agrees to the following:


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     a. Unallowable Costs Defined: All costs (as defined in the Federal Acquisition

        Regulation, 48 C.F.R. § 31.205-47; and in Titles XVIII and XIX of the

        Social Security Act, 42 U.S.C. §§ 1395-1395kkk-1 and 1396-1396w-5;

        and the regulations and official program directives promulgated

        thereunder) incurred by or on behalf of Novartis, including its present or

        former officers, directors, employees, and agents in connection with:

               1. the matters covered by this Stipulation;

               2. the United States’ audit(s) and civil investigation(s) of matters

                   covered by this Stipulation;

               3. Novartis’s investigation, defense, and corrective actions undertaken

                   in response to the United States’ audit(s) and civil investigation(s)

                   in connection with matters covered by this Stipulation (including

                   attorneys’ fees);

               4. the negotiation and performance of this Stipulation;

               5. any payment Novartis makes to the United States pursuant to this

                   Stipulation and any payment Novartis may make to Relator,

                   including expenses, costs and attorneys’ fees; and

               6. the negotiation of the CIA, and obligations undertaken pursuant to

                   the CIA to: (i) retain an independent review organization to perform

                   annual reviews as described in Section III of the CIA; and (ii)

                   prepare and submit reports to the OIG-HHS

        are unallowable costs for government contracting purposes and under the

        Medicare Program, Medicaid Program, TRICARE Program, and Federal

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        Employees Health Benefits Program (FEHBP) (hereinafter referred to as

        “Unallowable Costs”). However, nothing in Paragraph 22.a.6 that may apply

        to the obligations undertaken pursuant to the CIA affects the status of costs that

        are not allowable based on any other authority applicable to Novartis.

     b. Future Treatment of Unallowable Costs: Unallowable Costs shall be separately

        determined and accounted for by Novartis, and Novartis shall not charge such

        Unallowable Costs directly or indirectly to any contracts with the United States.

     c. Treatment of Unallowable Costs Previously Submitted for Payment: Within 90

        days of the Effective Date of this Stipulation, Novartis shall identify and repay

        by adjustment to future claims for payment or otherwise any Unallowable Costs

        (as defined in this Paragraph) included in payments previously sought by

        Novartis from the United States. Novartis agrees that the United States, at a

        minimum, shall be entitled to recoup from Novartis any overpayment plus

        applicable interest and penalties as a result of the inclusion of such Unallowable

        Costs on previously-submitted requests for payment. Any payments due shall

        be paid to the United States pursuant to the direction of the Department of

        Justice and/or the affected agencies.       The United States, including the

        Department of Justice and/or the affected agencies, reserves its right to audit,

        examine, or re-examine Novartis’s books and records and to disagree with any

        calculation submitted by Novartis or any of its subsidiaries or affiliates

        regarding any Unallowable Costs included in payments previously sought by

        Novartis, or the effect of any such Unallowable Costs on the amounts of such

        payments.


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               d. Nothing in this Stipulation shall constitute a waiver of the rights of the United

                   States to audit, examine, or re-examine Novartis’s books and records to

                   determine that no Unallowable Costs have been claimed in accordance with the

                   provisions of this Paragraph.

       23.     This Stipulation is intended to be for the benefit of the Settling Parties only. The

Settling Parties do not release any claims against any other person or entity except as otherwise

provided herein.

       24.     Each of the Settling Parties shall bear its own legal and other costs incurred in

connection with this matter, including the preparation and performance of this Stipulation;

provided, however, that nothing in this Stipulation shall preclude Relator from seeking to recover

his expenses or attorneys’ fees and costs from Novartis, pursuant to 31 U.S.C. § 3730(d) and

analogous provisions in state law.

       25.     Any failure by the United States to insist upon the full or material performance of

any of the provisions of this Stipulation shall not be deemed a waiver of any of the provisions

hereof, and the United States, notwithstanding that failure, shall have the right thereafter to insist

upon the full or material performance of any and all of the provisions of this Stipulation.

       26.     This Stipulation is governed by the laws of the United States. The exclusive

jurisdiction and venue for any dispute relating to this Stipulation is the United States District

Court for the Southern District of New York. The Court will retain jurisdiction over the

enforcement and interpretation of this Stipulation and to resolve all disputes arising hereunder.

       27.     For purposes of construing this Stipulation, it shall be deemed to have been

drafted by the Settling Parties, and shall not, therefore, be construed against any Settling Party

for that reason in any subsequent dispute.


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         28.    This Stipulation constitutes the entire agreement between the Settling Parties with

respect to the subject matter thereof. This Stipulation may not be amended except by written

consent of the Settling Parties. No prior agreements, oral representations or statements shall be

considered part of this Stipulation.

         29.    The undersigned counsel and other signatories represent and warrant that they are

fully authorized to enter into this Stipulation on behalf of the persons and the entities indicated

below.

         30.    This Stipulation is binding on Novartis’s successor entities.

         31.    This Stipulation is binding on Relator’s successors, transferees, heirs, and assigns.

         32.    This Stipulation may be executed in counterparts, each of which constitutes an

original and all of which constitute one and the same Stipulation. E-mails that attach signatures

in PDF form or facsimiles of signatures shall constitute acceptable, binding signatures for

purposes of this Stipulation.

         33.    Novartis agrees that it waives and shall not seek payment of any of the health care

billings covered by this Stipulation from any health care beneficiaries or their parents, sponsors,

legally responsible individuals, or third-party payors based upon the claims defined as the

Covered Conduct.

         34.    Any notice pursuant to this Stipulation shall be in writing and shall, unless

expressly provided otherwise herein, be delivered by hand, express courier, or e-mail

transmission followed by postage-prepaid mail, and shall be addressed as follows:

         TO THE UNITED STATES:

         Jeannette A. Vargas
         Pierre G. Armand
         Mónica Folch
         Jacob T. Lillywhite
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       Jennifer A. Jude
       Jacob M. Bergman
       Assistant United States Attorneys
       United States Attorney’s Office
       Southern District of New York
       86 Chambers Street, Third Floor
       New York, New York 10007
       Email: Jeannette.Vargas@usdoj.gov
              Pierre.Armand@usdoj.gov
              Monica.Folch@usdoj.gov
              Jacob.Lillywhite@usdoj.gov
              Jennifer.Jude@usdoj.gov
              Jacob.Bergman@usdoj.gov

       TO NOVARTIS:

       Evan R. Chesler, Esq.
       Rachel G. Skaistis, Esq.
       Benjamin Gruenstein, Esq.
       Cravath, Swaine, & Moore LLP
       Worldwide Plaza
       825 Eighth Avenue
       New York, New York 10019
       Email: echesler@cravath.com
              rskaistis@cravath.com
              bgruenstein@cravath.com

       TO THE RELATOR:

       James E. Miller
       Laurie Rubinow
       Shepherd Finkelman Miller & Shah, LLP
       65 Main Street
       Chester, CT 06412
       Email: jmiller@sfmslaw.com
              lrubinow@sfmslaw.com

       35.     The effective date of this Stipulation is the date upon which this Stipulation is

entered by the Court (the “Effective Date”).

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              For Novartis Pharmaceuticals Corp.:            For the United States of America:

              Dated: June 29, 2020                           Dated: June 29, 2020


              CRAVATH, SWAINE, & MOORE LLP                   AUDREY STRAUSS
                                                             Acting United States Attorney


        By:                                          By:
              EVAN R. CHESLER, Esq.                          JEANNETTE A. VARGAS
              RACHEL G. SKAISTIS, Esq.                       MÓNICA FOLCH
              BENJAMIN GRUENSTEIN, Esq.                      JACOB T. LILLYWHITE
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                                                             Assistant United States Attorneys
                                                             86 Chambers Street, Third Floor
              NOVARTIS PHARAMCEUTICALS                       New York, NY 10007
              CORPORATION

              By: ________________________
                 ELIZABETH MCGEE
                 General Counsel, US Pharma
                 US Country Head Legal
                 Novartis Pharmaceuticals Corporation


              For Relator Oswald Billota:                    For OIG-HHS:

              Dated: June 29, 2020                           Dated: June 29, 2020

              SHEPHERD FINKELMAN MILLER &
              SHAH, LLP

              By:                                    By:     ___________________
                    JAMES E. MILLER, Esq.                    LISA M. RE
                    65 Main Street                           Assistant Inspector General for Legal Affairs
                    Chester, CT 06412                        Office of Counsel to the Inspector General
                                                             Office of Inspector General
                                                             United States Department of
                    OSWALD BILOTTA                            Health and Human Services




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                    1st DAY OF _______,
SO ORDERED ON THIS ____         July    2020:


     HON. PAUL G. GARDEPHE
     UNITED STATES DISTRICT COURT JUDGE




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